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 6
 7                         UNITED STATES BANKRUPTCY COURT
 8                         SOUTHERN DISTRICT OF CALIFORNIA
 9
10   In RE:                                        )   CASE NO. 15-O7898-LT13
                                                   )
11   ROBERT F. MOOSBRUGGER                         )
     ESTHER A. MOOSBRUGGER                         )    RS ACTION NO. DWE-1
12                                                 )
                        Debtor(s).                 )   DECLARATION OF DEBTOR IN
13                                                 )   OPPOSITION TO MOTION FOR
     CIT BANK, N.A.                                )   RELIEF FROM STAY
14                                                 )
                                                   )   DATE: JULY 6, 2017
15                      Movant.                    )   TIME: 10:00 A.M.
                                                   )   DEPT: THREE
16                                                 )
     ROBERT F. MOOSBRUGGER                         )
17   ESTHER A. MOOSBRUGGER; and                    )
     CHAPTER 13 TRUSTEE                            )
18                Respondents.                     )
                                                   )
19
                I,    ROBERT F. MOOSBRUGGER,           declares as follows:
20
                1.     That I am a debtor in the above-referenced case.
21
                2.     That I am an owner of that certain real property
22
     located at 6903 Maury Drive, San Diego, California.
23
                3.     That, as indicated in my Chapter 13 schedules, I
24
     believe the fair market value of the real property is $539,000.00.
25
                4.   That we fell behind with our regular mortgage payments
26
     for the following reasons:
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28                                             1
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 1                     a.    I recently relocated to Ohio for an employment
 2   opportunity.     In the process of moving and establishing a new home
 3   in Ohio we incurred extraordinary expenses and fell behind with the
 4   mortgage payments.       Our records indicate one payment missed in Jun
 5   2016.
 6                     b.    In September 2016 our mortgage payment was reset
 7   resulting in an increase to $2,939.72, which we did not realize had
 8   occurred because we don’t receive statements.                We continued to send
 9   the lower payment of $2,750.00 for several months until May 2017 when
10   we became aware of the increase.              Commencing in May 2017 we began
11   paying $2,939.72 and will continue to do so.
12                     c.    We do acknowledge a missed payment in June 2016
13   and   several   payments    in    the   lesser    amount     for   several    months.
14   However, our May 2017 payment in the full amount is not reflected in
15   the accounting provided in the motion, although it has been received
16   and processed by Movant.
17              5.     That I oppose the Motion for Relief From Stay on the
18   grounds that there is equity in the subject property and that
19   continuation of the automatic stay herein will not result in any
20   irreparable harm, injury or damage to the moving party, nor will
21   moving party's lien against Debtors' property be impaired.
22              6.     That as additional adequate protection, I will agree
23   to a six-month Adequate Protection Order and will cure my arrearage
24   as follows:
25                     a.    Make a payment in the amount of $2,939.72 in June
26   2017 (represents one regular payment) on or before the hearing on this
27   matter.
28                                             2
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 1                     b.    Make monthly payments commencing in July 2017
 2   that will include my regular payment plus an additional amount to be
 3   determined after May 2017 payment has been confirmed by Movant.                    That
 4   the allowance of this payment schedule, if allowed by the Court,
 5   will cure my arrearage within six months.            Thereafter, the additional
 6   monthly payment will terminate and I will resume making my regular
 7   monthly payment.
 8              7.     That I am aware that for the preparation of this
 9   response and his representation at the hearing on this matter my
10   attorney is requesting additional attorney’s fees in the amount of
11   $625.00, or any additional amount allowed by the Court, and that,
12   should my plan be allowed to continue, said amount will be paid by the
13   Trustee through the administration of the plan.               I have no objection
14   to the request for said additional fees.
15              8.   I request that the Automatic Stay remain in effect, that
16   the Court deny the Motion for Relief From Stay, for reasonable
17   attorney's fees, and for such other and further relief as is just and
18   proper.
19              I declare under penalty of perjury under the laws of the
20   State of California that the foregoing is true and correct and that
21   this declaration is executed on                June 15, 2017                       ,at
22   Bowing Green, Ohio.
23
                                                    /s/ ROBERT F. MOOSBRUGGER
24                                                 Debtor
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28                                             3
